           Case 1:18-cr-00151-SHR Document 3 Filed 05/02/18 Page 1 of 5




                  UNITED STATES DISTRICT COURT
            FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

 UNITED STATES OF AMERICA                   ) CRIM. NO.    l'i\ ~ -- Cf_"\~
                                            )
              v.                            ) (Judge(4\N\00)
                                            )        .


 HAIXI SHENG,                               ) (Electronically Filed)
     Defendant.

                              INDICTMENT                                FILED
                                                                    HARRISBURG, PA
THE GRAND JURY CHARGES:
                                                                       MA   2 2018
                                                              PER
                               INTRODUCTION

      1.      The Gulf Coast box turtle (terrapene carolina majoi), is a

terrestrial turtle native to swamps and estuaries near shallow

permanent bodies of water and is naturally distributed along the Gulf

Coast region from Louisiana through Florida. Gulf Coast box turtles are

relatively long lived and slow to reproduce.

     2.       The Endangered Species Act ("ESA''), Title 16, United States

Code, Section 1531 et seq., prohibits persons subject to the jurisdiction

of the United States to engage in any trade in any specimens contrary

to the ESA and the regulations pr:omulgated thereunder.

     3.       The ESA also provides for the enforcement of the Convention

on International Trade in Endangered Species of Wild Fauna and Flora
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           Case 1:18-cr-00151-SHR Document 3 Filed 05/02/18 Page 2 of 5




("CITES"), by regulation. This international treaty, to which the United

States and China are signatories, pr:ohibits the export of listed species

without a valid permit issued by the U.S. Fish and Wildlife Service

("USFWS.") CITES is implemented under the authority of the Ei$A and

the regulations promulgated thereunder (16 U.S.C. § 1538(c); 50 C.F.R.

parts 14 and 23).

      4.      An animal species listed as protected under CITES cannot be

imported or exported from the United States without prior notification

to, and approval from, USFWS.

      5.      Species protected under CITES are listed in a series of

appendices (Appendices I, II, and III.) Appendix I include species

threatened with extinction. International trade in Appendix I species

for commercial purposes is essentially prohibited. Appendix II includes

species that, although currently not threatened with extinction, may

become so without trade controls. Appendix III species are not

necessarily endangered but are managed by the listing state.

Commercial trade in these species is allowed when accompanied by a

valid foreign export permit or certificate.



                                        2
           Case 1:18-cr-00151-SHR Document 3 Filed 05/02/18 Page 3 of 5




      6.      In order to manage increasing international trade pressures

on wild populations of.Gulf Coast box turtles, this species, along with

all other species of box turtles native to the United States, were added

to CITES on February 16, 1995, as an Appendix II species, requiring a

permit from the country of export, here the United States, at the time of

transit.

      7.      At no time relevant to this Indictment did the defendant,

Haixi Sheng, apply for or receive ESA or CITES permits authorizing the

exportation of the aforementioned species of wildlife from the United

States to China.

                                   COUNT I

                  (Smuggling Goods from the United States)
                         (18 U.S.C. Section 554(a))      ·

      8.      The allegations set forth in the Introduction to this

Indictment are incorporated herein by reference and realleged as if fully

set forth herein.




                                        3
           Case 1:18-cr-00151-SHR Document 3 Filed 05/02/18 Page 4 of 5




      9.      On or about November 29, 2017, in Cumberland County,

Pennsylvania, within the Middle District of Pennsylvania, and

elsewhere, the defendant,

                                HAIXI SHENG,

did fraudulently and knowingly export and send from the United

States, merchandise, that is eight Gulf Coast box turtles, contrary to

law, in that the defendant exported and sent the merchandise from the

United States without first having obtained ESA and CITES permits, in

violation of the Endangered Species Act, Title 16, United States Code,

Sections 1538(c) and did aid, abet, counsel, command, induce, and

procure the same.




                                        4
       Case 1:18-cr-00151-SHR Document 3 Filed 05/02/18 Page 5 of 5




      All in violation of Title 18, United States Code, Section 554(a) and

Title 18, United States Code, Section 2.

                                         A TRUE BILL



                                         FOREPERSON, GRAND JURY

. DAVID J. FREED
  UNITED STATES ATTORNEY


By:   ;),.s::J /lll VJ~
BRIAN G. McDONNELL                       DATE
SPECIAL ASSISTANT
U.S. ATTORNEY




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